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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:
                                                    M 10-468
 Briefing of Social Security Cases
                                                    STANDING ORDER

          WHEREAS, cases filed on and after December 1, 2022 under 42 U.S.C. § 405(g),

seeking judicial review on the record of final decisions by the Commissioner of Social Security

("Commissioner") denying applications for social security benefits, are governed by the

simplified procedures set forth in the Supplemental Rules for Social Security Actions

("Supplemental Rules" or "Supp. R."); and

          WHEREAS, pursuant to Supp. R. 4, the Commissioner must serve the answer on the

plaintiff or make a motion under Fed. R. Civ. P. 12 within 60 days after notice of the action is

given under Supp. R. 3; and

          WHEREAS, pursuant to Supp. R. 6-8, the plaintiff must file and serve on the

Commissioner a brief for the requested relief within 30 days after the answer is filed or the last

Rule 12 motion is resolved; the Commissioner must file a brief and serve it on the plaintiff

within 30 days after service of the plaintiff’s brief; and the plaintiff must file any reply brief

and serve it on the Commissioner within 14 days after service of the Commissioner’s brief; and

          WHEREAS, in light of the Court’s experience with cases filed under 42 U.S.C. §

405(g), it is anticipated that the parties may request extensions to one or more of the deadlines

set forth in the Supplemental Rules pursuant to Fed. R. Civ. P. 6(b)(1);

          NOW THEREFORE, in order to ensure the efficient disposition of cases subject to the

Supplemental Rules, it is hereby ORDERED that, prior to seeking an extension of any deadline

set forth in Supp. R. 4, 6, 7, or 8, the party seeking such extension shall attempt to meet and


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confer with the opposing party in a good faith effort to agree upon a reasonable and

comprehensive schedule for all future filings in the case. If the parties reach agreement, the

proposed schedule shall be presented to the Court for approval and, if approved, will govern all

remaining proceedings in the case. No further extensions will be granted absent compelling

circumstances. If the parties are unable to reach agreement on a comprehensive schedule, the

party seeking the initial extension shall describe the efforts made to reach such an agreement

and the reasons why those efforts were unsuccessful. The parties are reminded that, in the

absence of an extension order by the Court, the deadlines set forth in the Supplemental Rules

will control.

       It is further ORDERED that if a plaintiff who is appearing pro se fails to file a brief for

the requested relief within the time period set forth in Supp. R. 6 (or such extended time period

as the Court may have granted), the Commissioner must nonetheless file a brief and serve it on

the plaintiff within 30 days after the plaintiff’s brief was due (or within such extended time

period as the Court may have granted for the Commissioner’s brief). If the plaintiff disagrees

with the disposition requested by the Commissioner, the plaintiff may file an opposition brief

and serve it on the Commissioner within 14 days after service of the Commissioner’s brief (or

within such extended time period as the Court may have granted for the plaintiff’s reply brief).

       It is further ORDERED that absent leave of the Court, requested at least seven days in

advance, the parties’ initial and opposition briefs are limited to 25 pages and the reply brief is

limited to 10 pages.

       It is further ORDERED that this Standing Order supersedes Standing Order M10-468,

16-MC-171 (S.D.N.Y. Apr. 20, 2016) with respect to § 405(g) cases filed on and after




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December 1, 2022. Standing Order M10-468 will continue to apply to cases filed before

December 1, 2022.



Dated: New York, New York               SO ORDERED.
       November 18, 2022




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                                        LAURA TAYLOR SWAIN
                                        Chief United States District Judge




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